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                UNITED STATES DISTRICT COURT
            FOR THE NORTHERN DISTRICT OF FLORIDA
                     GAINESVILLE DIVISION


 SHARON WRIGHT AUSTIN, et al.,

                   Plaintiffs,

             v.                           Case No.: 1:21-cv-00184-MW-GRJ

 UNIVERSITY OF FLORIDA
 BOARD OF TRUSTEES, et al.,

                   Defendants.



                  DEFENDANTS’ MOTION TO DISMISS
                    AND MEMORANDUM OF LAW


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                             MOTION TO DISMISS

      Pursuant to Rule 12(b)(1) and Rule 12(b)(6) of the Federal Rules of Civil

Procedure, Defendants—the University of Florida Board of Trustees, President Kent

Fuchs, Provost Joseph Glover, and Dean Laura Rosenbury—hereby move to dismiss

Plaintiffs’ amended complaint for lack of subject matter jurisdiction and for failure

to state a claim upon which relief can be granted.

                           MEMORANDUM OF LAW
                                INTRODUCTION
      Dismissal of Plaintiffs’ amended complaint is warranted for three primary

reasons: First, this case is moot. The public controversy involving the three UF

professors who were denied permission to act as paid expert witnesses in litigation

against the State of Florida is now over. Indeed, that controversy was over even

before this case began. UF approved the professors’ outside activity requests before

they filed this lawsuit. They simply refuse to take yes for an answer. Also before

Plaintiffs filed suit, UF formed a Task Force to review its conflicts policy.1 In late

November, UF President Kent Fuchs accepted the Task Force’s recommendations—

thereby revising UF’s conflicts policy and making this moot case even mooter.

Under the newly revised policy, UF will apply a “strong presumption” that a faculty


 1
    This memorandum uses the term “conflicts policy” to refer to the conflict of
interest policy stated in UF’s rules and regulations and in the CBA between the UF
Board of Trustees and the United Faculty of Florida, UF.
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member’s request to testify as an expert witness should be approved, even if the

testimony is adverse to the State and even if the faculty member is compensated.

       Second, Plaintiffs lack standing to seek injunctive or declaratory relief with

respect to UF’s conflicts policy. They have no standing because the policy is not

injuring them. UF has not denied them permission to engage in any outside activities

that they wish to perform at the present time.

       Third, any challenge to UF’s current conflicts policy (i.e., the revised policy)

is not ripe for court review. Plaintiffs have not submitted, and UF has not denied,

any requests for approval of outside activities under the revised policy.

       The claims of the other three professors who joined the amended complaint

as plaintiffs also must be dismissed. As to two of those professors, UF approved

their outside activity requests more than a year ago; there is no live controversy as

to them. As to the last professor, Dr. Goldhagen, the amended complaint alleges

that, after UF denied his request months ago, he lost his chance to testify as an expert.

If so, no relief may be granted to him because the opportunity has come and gone.

Dr. Goldhagen himself recently stated in a videotaped interview with a television

news station that he participated in the litigation despite UF’s disapproval. Either

way, his claim here is moot.

       For these reasons and others, as explained below, the Court should dismiss

this case for lack of jurisdiction and for failure to state a claim for relief.

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                                 BACKGROUND

      A.     UF’s Collective Bargaining Agreement With the Faculty Union and
             the CBA’s “Outside Activity and Conflict of Interest” Policy
      Certain UF faculty members, including original Plaintiffs Austin, McDonald,

and Smith, belong to a union, the United Faculty of Florida, UF Chapter (or “UFF-

UF” for short). The current Collective Bargaining Agreement (“CBA”) between the

UF Board of Trustees and UFF-UF was executed on July 30, 2021, and runs through

June 30, 2024.     See Ex. 1.2    The CBA addresses “Academic Freedom and

Responsibility.” Art. 10. It also includes a policy on “Outside Activity and Conflict

of Interest.” Art. 26. Another article of the CBA governs “Grievance Procedure and

Arbitration.” Art. 28. Like the rest of the CBA, Articles 10, 26, and 28 were

negotiated with, and agreed to by, UFF-UF.

      UF, like other public universities,3 permits faculty members to engage in

outside activity, including paying work, so long as it does not constitute a conflict

of interest or conflict of commitment. Under Article 26 of the CBA, the UF Board

of Trustees and the union “agree[d]” that “[a] faculty member’s primary professional

obligations are to maintain the highest ethical and professional standards and, as an


 2
   All exhibits accompany the declaration of UF Deputy General Counsel Ryan
Fuller.
 3
    See Tracy v. Fla. Atlantic Univ. Bd. of Trustees, 980 F.3d 799 (11th Cir. 2020)
(rejecting professor’s First Amendment and vagueness challenges to the “Conflict
of Interest/Outside Activities” policy in FAU’s collective bargaining agreement).
                                         3
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agent of the University, act in its best interests.” Art. 26.1(a). Thus, faculty members

“may engage in approved Outside Activity, including employment” so long as the

outside activity is lawful and does not “conflict with their University duties and

responsibilities.” Id.

      The CBA defines the term “Conflict of Interest” as follows:

                “Conflict of Interest” shall mean a Private Interest, or
                relationship to a relative, that would reasonably appear to
                (a) adversely influence a faculty member’s actions,
                judgement or decisions, required to carry out Inside
                Activities or (b) create an unlawful conflict with the
                faculty member’s position as a public employee, as
                decreed by state or federal law, which includes a situation
                in which regard for a private interest leads to disregard of
                a public duty or interest.

Art. 26.2(g).

      Faculty members seeking to perform outside activity must report the proposed

activity and obtain approval. “Faculty must disclose Reportable Outside Activities

through the UFOLIO system. Faculty must receive approval through the UFOLIO

system prior to commencing such activities.” Art. 26.4(a); see also Appendix G to

CBA, “UFOLIO Electronic System for Disclosure and Review of Outside Activities

and Interests.” Expert witness activities are reportable: “An employee must report

if the employee serves or seeks approval to serve as an expert witness and/or engage

in consulting in the area of their Institutional Expertise or Inside Activities in a legal

matter like a lawsuit or potential lawsuit.” Art. 26.2(k)(9).

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      The University of Florida is committed to robust academic freedom for its

faculty members. Article 26 provides that it may not be used to violate a faculty

member’s right of academic freedom, as that right is defined in the CBA. “This

Article shall not be used to deny or retaliate against the legitimate exercise of rights

protected by this Agreement, including but not limited to the rights protected by

ARTICLE 10, ACADEMIC FREEDOM AND RESPONSIBILITY.” Art. 26.1(c).

      Faculty members may grieve UF’s denial of permission to engage in outside

activity. Article 26.9—captioned “Grievance Procedure”—states that “[a] faculty

member may grieve the University’s … denial of an Outside Activity … citing

Impermissible Conflict.” Art. 26.9(a). Thus, a faculty member who believes that

the denial of an outside activity request violates her academic freedom may file a

grievance along such lines.

      B.     UF’s Regulation 1.011 and Policy on Conflicts
      UF has promulgated Regulation 1.011, captioned “Disclosure and Regulation

of Outside Activities and Financial Interests.” Ex. 2, https://tinyurl.com/3zrenpra.

Regulation 1.011(1) provides:

             The University of Florida encourages its Faculty and Staff
             to engage in activities supporting their professional
             growth, creating new knowledge and ideas, and furthering
             the University’s mission of excellence in education,
             research, and service. University employees, however,
             have an obligation to commit their primary professional
             time and intellectual energy to the University and maintain
             the highest ethical and professional standards. Further,

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             personal gain from Outside Activities or Financial
             Interests, as defined in the University of Florida Policy on
             Conflicts of Commitment and Interest, must not
             influence—or create the appearance of influencing—the
             decisions or actions of the University.

      Regulation 1.011(2) states that “all Faculty and Staff shall adhere to the

University of Florida Policy on Conflicts of Commitment and Interest (the ‘Policy

on Conflicts’).”

      The Policy on Conflicts, Ex. 3, https://tinyurl.com/3yh9kff7, states:

             1. Policy Statement and Purpose

             The University of Florida encourages its Employees to
             engage in activities supporting their professional growth,
             creating new knowledge and ideas, and furthering the
             University’s mission of excellence in education, research,
             and service. University Employees’ primary professional
             obligation, however, is to act in the best interest of the
             University and to maintain the highest ethical and
             professional standards. A University Employee’s Outside
             Activities or interests must not conflict, or appear to
             conflict, with their professional obligations to the
             University of Florida. Accordingly, this Policy establishes
             standards and requirements to protect the University’s
             financial wellbeing, reputation, and legal obligations and
             provides a system for identifying, reporting, and managing
             real or apparent conflicts.

      The Policy on Conflicts offers these definitions of “Conflict of Interest” and

“Outside Activity”:

             Conflict of Interest: occurs when a University Employee’s
             financial, professional, commercial or personal interests or
             activities outside of the University affects, or appears to


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             affect, their professional judgement or obligations to the
             University.

             Outside Activity: any paid or unpaid activity undertaken
             by an Employee outside of the University which could
             create an actual or apparent Conflict of Commitment or
             Conflict of Interest. Outside Activities may include
             consulting, participating in civic or charitable
             organizations, working as a technical or professional
             advisor or practitioner, or holding a parttime job with
             another employer.

      Section 4(C) of the Policy—captioned “Conflict of Interest”—provides:

             Employees must avoid situations which interfere with—or
             reasonably appear to interfere with—their professional
             obligations to the University. Such situations might create
             an appearance of impropriety and, therefore, must be
             disclosed. As discussed below, Employees will use the
             UFOLIO system to disclose Outside Activities in which
             they wish to engage. When the University determines a
             Conflict of Interest may exist with an Employee, the
             University may, in its sole discretion, prohibit the
             individual from engaging in the activity presenting a
             potential conflict; take actions to limit the individual’s
             activity; or implement other measures the University
             deems reasonably necessary to eliminate the potential
             conflict.

      Section 5(B) lists “potential Conflicts of Interest and Outside Activities [that]

must be disclosed,” including: “9. Expert Witness/Legal Consulting: You serve or

you are seeking approval to serve as an expert witness and/or engage in consulting

in a legal matter like a lawsuit or a potential lawsuit.”

      Finally, Section 6 states that “[f]or activities and interests disclosed through

UFOLIO,” UF officials “will determine whether a disclosed activity, interest or
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circumstance presents a Conflict of Interest.”

        Faculty members who do not belong to UFF-UF and are not subject to the

CBA are covered by Regulation 1.011 and the Policy on Conflicts. See Fuller Decl.

¶ 7.

        C.    Three UF Professors Seek Approval to Work as Paid Experts in
              Litigation Against Their Employer, the State of Florida.

        The original Plaintiffs here—faculty members Sharon Wright Austin, Michael

McDonald, and Daniel A. Smith—were asked to act as experts in support of the

plaintiffs in a voting rights case challenging Senate Bill 90. UF initially denied their

requests. See Am. Compl. ¶¶ 52–67 (Doc. 19). By late October 2021, UF’s decision

started to receive public attention and criticism from some quarters. Id. ¶ 72.

        By email dated October 26 addressed to the UF Office of General Counsel,

Paul Ortiz, the President of UFF-UF, protested the denial of the faculty members’

requests. Ortiz wrote: “The union believes that this is a violation of several articles

of our 2021-2024 Collective Bargaining Agreement including Article 10 as well as

Article 26.” Ex. 4. Ortiz indicated that the matter could be grieved. “The only

reason we are not filing a grievance at this point,” Ortiz wrote, is that “the impacted

faculty have chosen to pursue this violation of their freedoms in federal court.” Id.

        On October 30, UF addressed the controversy. UF posted a statement that

affirmed its support for “free speech and our faculty’s academic freedom” and

explained that “the university denied requests of these full-time employees to

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undertake outside paid work that is adverse to the university’s interests as a state of

Florida institution.” Ex. 5.

      D.     Reconsidering Its Initial Decision, UF Approves the Professors’
             Requests and Forms a Task Force to Review Its Conflicts Policy.

      As November came the controversy continued. On November 1, President

Fuchs and Provost Glover issued another statement. See Ex. 6. Their statement first

reiterated that “the University of Florida stands firmly behind its commitment to

uphold our most sacred right as Americans—the right to free speech—and to faculty

members’ right to academic freedom. Nothing is more fundamental to our existence

as an institution of higher learning than these two bedrock principles.” Id.

      The President and Provost also announced the creation of a “task force to

review the university’s conflict of interest policy and examine it for consistency and

fidelity.” Id. The statement noted that “it is critical to ensure the policy advances

the university’s interests while protecting academic freedom.” Id.

      Finally, the Fuchs/Glover statement announced that UF had changed its

decision and would allow the professors to act as unpaid expert witnesses. “[I]f the

professors wish to testify pro bono on their own time without using university

resources, they are free to do so.” Id.

      On November 5, President Fuchs issued another statement, Ex. 7, which he

sent by email to the UF campus community, Ex. 8. He confirmed the formation of

“a task force that will review UF’s practices regarding requests for approval of

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outside activities involving potential conflicts of interest and conflicts of

commitment.” Ex. 7. He explained that the seven-member Task Force would

recommend “how UF should respond when employees request approval to serve as

expert witnesses in litigation in which their employer, the state of Florida, is a party.”

Id. Appointed to the Task Force were: Joe Glover, Provost and Chief Academic

Officer; Katie Vogel Anderson, Clinical Associate Professor at the College of

Pharmacy; Hub Brown, Dean of the College of Journalism and Communications;

Clay Calvert, Professor of Law and Professor of Journalism and Communications;

Terra DuBois, Chief Compliance, Ethics & Privacy Officer; John Kraft, Professor

and Susan Cameron Chair of International Business at the Warrington College of

Business; and Laura Rosenbury, Dean of the Levin College of Law. Id.

      In his November 5 statement, President Fuchs also ordered the approval of the

professors’ requests. He directed “UF’s Conflicts of Interest Office to reverse the

decisions on recent requests by UF employees to serve as expert witnesses in

litigation in which the state of Florida is a party and to approve the requests

regardless of personal compensation.” Id.

      Although President Fuchs’ new decision did not satisfy Plaintiffs or their

lawyers, it won plaudits elsewhere.        The Foundation for Individual Rights in

Education (“FIRE”), which had criticized the initial decision, told UF that “FIRE is

very pleased with UF’s decision to allow the professors to serve as expert witnesses

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regardless of personal compensation.” Ex. 9.

      E.    After UF Approves Their Requests, Plaintiffs File This Lawsuit.
      Despite UF’s approval of their requests, original Plaintiffs Austin, McDonald,

and Smith filed the instant lawsuit on November 5. Notably, they filed suit after

President Fuchs issued his public statement earlier that day. The statement was

issued soon after 12:00 p.m. EDT. See Ex. 8. Per PACER, the complaint was filed

almost five hours later, just before 5:00 p.m. EDT. The original complaint of

November 5 referenced President Fuchs’ decision approving Plaintiffs’ requests

earlier that day. See Compl. ¶ 43 (Doc. 1).

      On November 15, Plaintiffs filed an amended complaint that added three more

Plaintiffs—UF faculty members Kenneth B. Nunn, Teresa J. Reid, and Jeffrey

Goldhagen. See Am. Compl. (Doc. 19). The new complaint alleges the following

concerning the new Plaintiffs:

      In July 2020, Professors Nunn and Reid received permission from UF to

participate as amici in support of a lawsuit challenging Senate Bill 7066. Nunn’s

request was “unconditionally approved.” Reid received approval on the condition

that she participate in her personal capacity. As filed, the amici brief listed Nunn

and Reid (and two other UF professors) without their institutional affiliations. See

Am. Compl. ¶¶ 28–40.

      In August 2021, an attorney asked Dr. Goldhagen to serve as an expert witness


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for the plaintiffs in mask mandate litigation against the State. Goldhagen agreed to

do so pro bono, but was denied permission. He encouraged the attorney to subpoena

his testimony (and thereby circumvent UF’s decision), but the attorney did not do

so. See Am. Compl. ¶¶ 42–50.

       According to a published report, however, Dr. Goldhagen participated in the

litigation despite UF’s decision. “Our team had the opportunity to speak with Dr.

Jeffrey Goldhagen, he is a professor at UF college in medicine … He says he was

denied the chance to participate in court pro-bono three times. … Goldhagen said he

decided to work with the lawyers on the cases anyways.” Ex. 10, Giselle Thomas,

UF professor says he was denied three requests for him to participate in court, CBS4

NEWS (Nov. 3, 2021), https://tinyurl.com/2p2jejna. In his videotaped interview, Dr.

Goldhagen stated that he disregarded UF’s decision because “[t]he decision to not

allow me to participate was not one that I personally or professionally could sustain.”

Id.; see also video at 1:23–1:32.

       F.     UF Revises Its Conflicts Policy.

       In late November, the Task Force delivered its report and recommendations

to President Fuchs. See Ex. 11, Task Force on Outside Activities: Final Report (Nov.

22, 2021), https://tinyurl.com/yu3ht75b. The Task Force recommended that UF

revise its conflicts policy to:




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 • Publicly affirm the academic freedom of faculty when performing their

    duties as teachers and scholars;

 • Publicly affirm the free speech rights of faculty and staff to comment on

    matters of public concern;

 • Clarify that such comments, including to the media, are not reportable as

    outside activities when made by faculty and staff in their capacities as

    individual citizens and not on behalf of another person or entity;

 • Emphasize that comments on matters of public concern become reportable

    outside activities, subject to university review for potential conflicts of

    interest or conflicts of commitment, as defined in UF policy and the CBA

    between the UF Board of Trustees and the UFF-UF, when faculty and staff

    seek to testify as expert witnesses on behalf of a party in litigation;

 • Establish a strong presumption that the university will approve faculty or

    staff requests to testify as expert witnesses, in their capacities as private

    citizens, in all litigation in which the State of Florida is a party, regardless

    of whether the faculty or staff member is compensated for such testimony,

    including in cases challenging the constitutionality, legality, or application

    of a Florida law; and

 • Impose a heavy burden on the university to overcome the strong

    presumption set forth above, such that requests to serve as expert witnesses

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          in litigation in which the State of Florida is a party would be denied only

          when clear and convincing evidence establishes that such testimony would

          conflict with an important and particularized interest of the university,

          which the university must set forth in writing.

See Task Force Report 2–3.

      On November 23, President Fuchs accepted the recommendations of the Task

Force. In a statement, UF indicated that “UF President Kent Fuchs approved the

recommendations of a presidential task force appointed to review UF’s conflicts of

interest policy and is asking the appropriate campus offices to proceed with

implementation.”     Ex. 12, UF affirms no external influence in faculty expert

testimony decisions: President also accepts recommendations from conflicts of

interest task force, UF NEWS (Nov. 23, 2021), https://tinyurl.com/269fwstn.

               RULE 12(b)(1) AND RULE 12(b)(6) STANDARDS
      “Rule 12(b)(1) motions to dismiss for lack of subject matter jurisdiction can

be asserted on either facial or factual grounds.” Carmichael v. Kellogg, Brown &

Root Servs., Inc., 572 F.3d 1271, 1279 (11th Cir. 2009). Where, as here, “a

defendant raises a factual attack on subject matter jurisdiction, the district court may

consider extrinsic evidence” such as declarations and relevant documents. Id. In a

factual attack on jurisdiction, “[n]o presumptive truthfulness attaches to plaintiff’s

allegations, and the existence of disputed material facts will not preclude the trial


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court from evaluating for itself the merits of jurisdictional claims.” Apalachicola

Bay & River Keeper, Inc. v. Gulf Power Co., No. 4:14-cv-268-MW/CAS, 2014 WL

11512203, at *1 (N.D. Fla. Sept. 26, 2014) (quoting Williamson v. Tucker, 645 F.2d

404, 413 (5th Cir. 1981)).

          A complaint should be dismissed under Rule 12(b)(6) if it lacks “enough facts

to state a claim to relief that is plausible on its face.” Bell Atl. Corp. v. Twombly, 550

U.S. 544, 570 (2007). A plaintiff’s allegations must include “factual content that

allows the court to draw the reasonable inference that the defendant is liable for the

misconduct alleged.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009).

                                       ARGUMENT
I.        This Case Is Moot.

          A.    The Past Controversies Involving Plaintiffs and UF Are Over.
          “Article III of the Constitution requires that there be a live case or controversy

at the time that a federal court decides the case.” Burke v. Barnes, 479 U.S. 361,

363 (1987). There is no live controversy here. “No matter how vehemently the

parties continue to dispute the lawfulness of the conduct that precipitated the

lawsuit,” federal courts may not entertain a moot suit. Already, LLC v. Nike, Inc.,

568 U.S. 85, 91 (2013). 4



   Mootness is, of course, assessed as things now stand, not as they were pre-suit.
     4

See Dow Jones & Co. v. Kaye, 256 F.3d 1251, 1254 (11th Cir. 2001) (“When we
consider our jurisdiction for mootness, we look at the events at the present time …”).
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       After initially denying the original Plaintiffs’ outside work requests, UF later

approved the requests of Professors Austin, McDonald, and Smith to perform paid

expert witness work. Therefore, the controversy between them and UF is now moot.

See Beta Upsilon Chi Upsilon Chapter at Univ. of Fla. v. Machen, 586 F.3d 908

(11th Cir. 2009) (First Amendment controversy over UF’s denial of recognition to

student group became moot when UF recognized the group and amended its policy);

Finstad v. State of Fla., Dep’t of Bus. & Prof’l Reg., 295 F. App’x 352 (11th Cir.

2008) (lawsuit moot where Board of Surveyors reversed its own decision); Harrison

v. United Mine Workers of Am. 1974 Benefit Plan & Trust, 941 F.2d 1190, 1193

(11th Cir. 1991) (“As to those appellants who have submitted applications, the case

is moot. The Plan has approved all of the applications submitted by Black Diamond

retirees ... There is no case or controversy between these appellants and the Plan.”).

Here, “the controversy at issue has ended.” Beta Upsilon Chi, 586 F.3d at 910. UF’s

approval of the original Plaintiffs’ requests mooted the controversy even before they

filed suit.

       The past disputes that involved the three Plaintiffs who joined the amended

complaint also are over. UF approved Nunn’s and Reid’s participation as amici.

Indeed, UF did so more than a year ago. Although UF denied Goldhagen’s request

to testify as an expert witness in litigation, that months-old dispute is now moot

because, according to the amended complaint, the opportunity came and went. See

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Am. Compl. ¶ 50 (“the case moved too quickly, and the lawyer [who approached

Goldhagen] instead sought other expert witnesses”). Or did it? According to a

different account he himself recently gave to a news organization in a videotaped

interview, Goldhagen disregarded UF’s decision and participated in the litigation

“anyways.” Ex. 10.

      The past controversies involving Plaintiffs have been made even mooter than

moot by UF’s revised conflicts policy. Under the revised policy, UF will apply a

“strong presumption” that a faculty member may testify as an expert witness in

litigation to which the State of Florida is a party, no matter what the faculty

member’s testimony is or whether the faculty member is compensated. See Task

Force Report 2. The revised policy imposes a “heavy burden on the university to

overcome the strong presumption” such that a request to testify in litigation as an

expert witness may be denied only when “clear and convincing evidence”

establishes that such testimony would “conflict with an important and particularized

interest of the university, which the university must set forth and explain in writing.”

Id. at 2–3. UF will apply the same strong presumption, heavy burden, and clear-

and-convincing-evidence standard to a faculty member’s request to participate in

litigation as an amicus curiae. See Fuller Decl. ¶ 17.

      Accordingly, at this point in time, as to all six Plaintiffs, “no controversy exists

and this [case] is merely academic.” Beta Upsilon Chi, 586 F.3d at 916. This Court

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“lack[s] the power to retain jurisdiction over a moot controversy for the purpose of

rendering an advisory opinion.” Id. at 918.

      B.     The Mootness Exceptions for “Voluntary Cessation” and Disputes
             “Capable of Repetition, Yet Evading Review” Do Not Apply.

      The “voluntary cessation” exception to the mootness doctrine does not apply

here for two reasons. First, UF is a state entity. A private defendant who halts his

challenged conduct may return to his old ways. But, as the Eleventh Circuit

explained in a case involving UF, when “the defendant is not a private citizen but a

government actor” courts apply a “rebuttable presumption that the objectionable

behavior will not recur.” Beta Upsilon Chi, 586 F.3d at 916 (quoting Troiano v.

Supervisor of Elections in Palm Beach Cty., 382 F.3d 1276, 1283 (11th Cir. 2004)

(emphasis in original)). In Beta Upsilon Chi, the Eleventh Circuit held that, because

UF had recognized the student group seeking recognition and had changed its

recognition policy, plaintiff “BYX cannot overcome the presumption that the

‘objectionable behavior will not recur.’” Id. at 917. The same line of reasoning

applies to the materially similar facts here. Second, this case did not become moot

“as a response to litigation.” Parker v. Governor of Pa., No. 20-3518, 2021 WL

5492803, at *4 (3d Cir. Nov. 23, 2021). UF reversed its decision on the original

Plaintiffs’ requests before the first complaint was filed in this case.

      The exception for controversies “capable of repetition, yet evading review” is

also inapplicable. For starters, “the mootness exception for disputes capable of

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repetition yet evading review ... will not revive a dispute which became moot before

the action commenced.” Renne v. Geary, 501 U.S. 312, 320 (1991). The original

Plaintiffs commenced this action after President Fuchs mooted the controversy by

approving their outside activity requests.

      Even if the two-part “capable of repetition, yet evading review” test applied

here, the exception would not apply. This “narrow exception” applies “only in the

exceptional circumstance in which the same controversy will recur and there will be

inadequate time to litigate it prior to its cessation.” Al Najjar v. Ashcroft, 273 F.3d

1330, 1340 (11th Cir. 2001). “There are two prongs to the ‘capable of repetition,

yet evading review’ exception, and [the plaintiffs] bear the burden of proving both

prongs.” Libertarian Party v. Dardenne, 595 F.3d 215, 216–17 (5th Cir. 2010);

accord Parker, supra, at *4. As to the “capable of repetition” prong, Plaintiffs have

not proved the same controversy (i.e., UF’s refusal to allow them to participate as

experts or amici in litigation against the State) “will recur.” Al Najjar, 273 F.3d at

1340. Under UF’s revised policy, there is a strong presumption that faculty members

may testify as paid expert witnesses against the State, and a heavy burden is imposed

on UF such that the strong presumption may be overcome only by clear and

convincing evidence of a conflict with an important and particularized university

interest. See Task Force Report 2–3.

      Nor have Plaintiffs satisfied the “evading review” prong. They have not

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shown that the time period between a denial of a request to participate in litigation

and the closing of the window of opportunity to participate is too short to obtain

effective court relief. The judges of the U.S. District Court for the Northern District

of Florida are nimble when it comes to TRO and PI motions. See, e.g., Fla.

Democratic Party v. Scott, 215 F. Supp. 3d 1250 (N.D. Fla. 2016) (granting TRO

one day after motion was filed and one day before injury-causing deadline; setting

PI hearing for two days later).

II.    Plaintiffs Lack Standing to Sue UF for Injunctive or Declaratory Relief.

       With the controversies between them and UF over, Plaintiffs lack standing to

bring this suit seeking injunctive and declaratory relief as to UF’s conflicts policy.

The suit, therefore, should be dismissed.

       The fact that UF in the past denied a request to engage in outside activity

(which denial was temporary in the case of the three original Plaintiffs) does not give

a requestor standing to seek injunctive relief. It is well established that “a plaintiff

seeking prospective injunctive relief may not rely on prior harm to establish Article

III standing.” Abbott v. Pastides, 900 F.3d 160, 176 (4th Cir. 2018) (quotation marks

omitted). “Past exposure to illegal conduct does not in itself show a present case or

controversy regarding injunctive relief ... if unaccompanied by any continuing,

present adverse effects.” O’Shea v. Littleton, 414 U.S. 488, 495–96 (1974); see also

Harmon v. City of Kansas City, 197 F.3d 321, 327 (8th Cir. 1999) (“The mere fact


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that injurious activity took place in the past does nothing to convey standing to seek

injunctive relief against future constitutional violations.”). Here, Plaintiffs allege

that UF, in the past, unlawfully denied some of their outside work requests. Without

more, that allegation does not give them standing to seek an injunction.5

      Because past harm does not suffice for injunctive relief, Plaintiffs must show

that they themselves will almost certainly suffer the same injury again in the very

near future. The Supreme Court has “repeatedly reiterated that threatened injury

must be certainly impending to constitute injury in fact, and that allegations of

possible future injury are not sufficient.” Clapper v. Amnesty Int’l USA, 568 U.S.

398, 409 (2013) (cleaned up; emphases in original). Clapper disapproved of a more

lax Second Circuit standard—the “objectively reasonable likelihood” standard—as

“inconsistent with our requirement that threatened injury must be certainly

impending to constitute injury in fact.” Id. at 410 (quotation marks omitted). The

Eleventh Circuit has applied the Clapper standard in recent cases. See, e.g., Tsao v.

Captiva MVP Rest. Partners, LLC, 986 F.3d 1332, 1338–39 (11th Cir. 2021).




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    Plaintiffs do not acquire standing by contending that an injunction is needed as
an insurance policy just to be sure that UF will not improperly deny their future
requests. “Standing also does not follow from the conclusion that the injunctive
relief sought by a plaintiff would prevent the plaintiff from suffering the same injury
in the future, which is always true when a plaintiff seeks an injunction prohibiting a
defendant from repeating an action that injured the plaintiff in the past.” Stringer v.
Whitley, 942 F.3d 715, 721 (5th Cir. 2019).
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      Plaintiffs have not shown that future injury is certainly impending. They do

not have any pending outside activity requests, much less ones proposing

involvement in litigation against the State of Florida. It cannot be said when, or if,

they will submit any such requests. Furthermore, UF granted the original Plaintiffs’

requests to serve as expert witnesses against the State. President Fuchs also formed

a Task Force to review UF’s conflicts policy, and he accepted the Task Force’s

recommendations. See Exs. 11 & 12. Under UF’s revised policy, there is a strong

presumption in favor of allowing faculty members to testify as expert witnesses,

even if their testimony is against the State and is compensated. See Task Force

Report 2. Only clear and convincing evidence of a conflict with an important and

particularized university interest may overcome the heavy burden imposed by that

strong presumption. See id. at 2–3. Given these developments, any claim of future

injury here is speculative at best.

      There is another prerequisite to injunctive relief that Plaintiffs have not met.

Plaintiffs, as injunction seekers, must show that their future injury is not only likely,

but likely to occur in the immediate future. It is not enough to allege or show that a

future injury is likely to occur someday. Both the Eleventh Circuit and the Supreme

Court have imposed this requirement in cases such as this one. “When a plaintiff

cannot show that an injury is likely to occur immediately, the plaintiff does not have

standing to seek prospective relief even if he has suffered a past injury.” 31 Foster

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Children v. Bush, 329 F.3d 1255, 1265 (11th Cir. 2003); see also City of Los Angeles

v. Lyons, 461 U.S. 95, 102 (1983) (plaintiff seeking injunction to avoid repetition of

past harm must show “a real and immediate threat of repeated injury”) (quoting

O’Shea, 414 U.S. at 496).

        Here, Plaintiffs have not demonstrated an “immediate threat that [they] will

be wronged again.” Lyons, 461 U.S. at 111. Plaintiffs have no pending requests to

perform outside work. Even if they did, it would not mean that UF would turn down

the requests on an (allegedly) unlawful basis. No injury is on the cusp of occurrence.

        In sum, Plaintiffs have not shown a future injury that is certainly impending

and about to occur immediately.6 They have no standing.

III.    Any Challenge to UF’s Revised Conflicts Policy Is Not Ripe.
        As shown above, this case is moot (strike one), and Plaintiffs lack standing

(strike two). But they have another Article III problem: Any challenge to UF’s

revised conflicts policy is not ripe for court review at this time (strike three). Indeed,

Plaintiffs filed their amended complaint before UF revised its policy.

        “The central concern [of the ripeness doctrine] is whether the case involves

uncertain and contingent future events that may not occur as anticipated, or indeed

may not occur at all.” Warner Cable Commc’ns, Inc. v. City of Niceville, 911 F.2d


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   Although the original and amended complaints requested preliminary injunctions,
Plaintiffs have not filed a PI motion. If they did file such a motion, they could not
demonstrate the requisite “irreparable injury.”
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634, 642 (11th Cir. 1990) (quoting 13A CHARLES ALAN WRIGHT ET AL., FEDERAL

PRACTICE & PROCEDURE § 3532.1, at 112 (2d ed. 1984)). The instant case is rife

with uncertainties. It is uncertain whether, or when, Plaintiffs will be asked to serve

as experts or amici in future litigation against the State of Florida. Plaintiffs cannot

be certain that UF would deny permission under its newly revised policy or if any

such denial would be based on Plaintiffs’ adversity to the State in litigation. On the

contrary, any new requests submitted by the Plaintiffs would be handled under UF’s

revised policy, with its “strong presumption” that UF will approve a faculty

member’s request to act as a paid expert witness in litigation against the State. See

Task Force Report 2–3. The revised policy also clarifies that faculty are free to

comment on matters of public concern in their individual capacities (not on behalf

of another person or entity) and that when they do so such commentary is not

reportable as outside activity. Id. at 2.

      A sampling of the Eleventh Circuit’s reasoning in its ripeness cases confirms

that this case is unripe. In Association for Children for Enforcement of Support, Inc.

v. Conger, 899 F.2d 1164 (11th Cir. 1990), the Eleventh Circuit held that the

plaintiffs’ First Amendment claim was not ripe because it was “based on what they

predict will happen as a result of [the challenged] policy should they attempt, at

some time in the future,” to engage in conduct seemingly contrary to the policy. Id.

at 1166 (emphasis in original). The Court stated: “This is plainly the type of

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hypothetical case that we should avoid deciding. We do not generally decide cases

based on a party’s predicted conduct.” Id.7

      Similarly, in Johnson v. Sikes, 730 F.2d 644 (11th Cir. 1984), the Eleventh

Circuit explained that the plaintiffs’ claims were unripe because they were “based

merely on assumed, potential invasions of their constitutional rights” and not on

“any injury currently being suffered by” the plaintiffs. Id. at 648–49. The Court

stated that “the hypothetical and contingent nature of the questions raised in this

appeal counsel against issuing an opinion premised on uncertain and contingent

future events that may not occur as anticipated or may not occur at all.” Id. at 649.

The Court added that “[o]ur decision not to render an opinion advising what the law

would be on an assumed set of facts is also consistent with the well-established rule

that a court is never to ‘anticipate a question of constitutional law in advance of the

necessity of deciding it.’” Id. (quoting Ashwander v. TVA, 297 U.S. 288, 346 (1936)

(Brandeis, J., concurring)).

      Plaintiffs ask this Court to assume or predict that they will once again be asked

to serve as experts or amici in litigation against the State and that UF will deny their



 7
   See also Elend v. Basham, 471 F.3d 1199, 1211–12 (11th Cir. 2006): “When a
case involving prospective relief provides a court with no factual assurance that
future injury is likely and no clues about its contours should such an injury arise, we
are left with only the faintest picture of a possible constitutional transgression
occurring someday, somewhere in this country. Such a claim is not fit for
adjudication by this Court.”
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requests on that basis, even though UF has a revised conflicts policy. That ask is an

improper one. See Clapper, 568 U.S. at 414 (declining “to endorse standing theories

that rest on speculation about the decisions of independent actors”). Contrary to

Article III, Plaintiffs ask this Court to render an impermissible advisory opinion.

Plaintiffs may return to this Court if and when they have a constitutional claim that

is ripe for resolution. At this time, Plaintiffs are not properly before this Court.

IV.    The Claims of the Original Plaintiffs Are Barred by Their Failure to File
       Grievances Under the CBA.

       As shown above, the doctrines of mootness, standing, and ripeness require

dismissal here. But even if UF’s temporary denial of the original Plaintiffs’ activity

requests were somehow a “live” controversy, those Plaintiffs—Austin, McDonald,

and Smith—would have still another problem: They failed to grieve or arbitrate

their disputes with UF, in violation of the CBA. Therefore, the claims they assert

against Defendants in this case are barred.

       Plaintiffs Austin, McDonald, and Smith are in the bargaining unit represented

by the UF Chapter of UFF-UF. See Fuller Decl. ¶ 3. They did not, however, file

grievances over UF’s denial of their outside activity requests. Id. ¶ 4.

       Article 28 of the CBA governs “Grievance Procedure and Arbitration.” This

process consists of three steps: “Step 1. Hearing by the dean or designee,” “Step 2.

Review by the Provost or designee,” and “Step 3. Arbitration.” Art. 28.1(a). The

CBA includes arbitration as its final step, see Art. 28.9, in accordance with the
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Florida Public Employee Relations Act. See Fla. Stat. § 447.401 (“Such grievance

procedure shall have as its terminal step a final and binding disposition by an

impartial neutral, mutually selected by the parties”). The arbitration process is an

important protection. Union members are “not at the mercy of the University’s

judgment because the collective bargaining agreement provide[s] for an independent

arbitrator.” Tracy, 980 F.3d at 805.

      The grievance and arbitration process under the CBA is “mandatory.” Id.

The CBA states that “[t]he procedures in this Article shall be the sole and exclusive

method for resolving the grievances of faculty members except where explicitly

specified elsewhere in this Agreement.” Art. 28.1(a). In Tracy, the Eleventh Circuit

considered a similarly-worded CBA between Florida Atlantic University and its

faculty union. Professor Tracy claimed that FAU fired him in breach of the CBA,

but he did not grieve his dispute. The Eleventh Circuit ruled for FAU, explaining

that “[t]he CBA clearly provides that the grievance procedure was mandatory,

stating that the procedure ‘shall be the sole and exclusive method for resolving the

grievances of employees.’” Tracy, 980 F.3d at 805.

      The short-lived public dispute between UF and Professors Austin, McDonald,

and Smith fell within the CBA’s definition of a grievance. “The term ‘grievance’

shall mean a dispute concerning the interpretation or application of a specific term

or provision of this Agreement.” Art. 28.2(a). “The key term in the definition is

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‘concerning.’ That term means ‘[r]elating to’ or ‘affecting.’” Dixon v. Pub. Health

Trust of Dade Cty., 567 F. App’x 822, 827 (11th Cir. 2014) (quoting BLACK’S LAW

DICTIONARY 289 (6th ed. 1990)). “So a claim is a ‘grievance’ under the CBA if it is

a disagreement that relates to or affects specific provisions of the CBA.” Id.

         Plaintiffs’ disputes were “grievances” because they were disagreements that

related to two specific provisions of the CBA—Article 10 on “Academic Freedom

and Responsibility” and Article 26 on “Outside Activity and Conflict of Interest.”

The disputes clearly related to Article 26, which provides that “[a] faculty member

may grieve the University’s … denial of an Outside Activity citing insufficient

disclosure or Impermissible Conflict.” Art. 26.9(a). “The process and deadline for

filing” such a grievance “shall be in accordance with ARTICLE 28 in all respects.”

Art. 26.9(a)(2).

         Article 26 expressly provides that it “shall not be used to deny … the rights

protected by ARTICLE 10, ACADEMIC FREEDOM AND RESPONSIBILITY.”

Art. 26.1(c). Thus, academic freedom may be invoked to grieve the denial of an

outside activity request. Plaintiffs certainly could have grieved the denial of their

requests based on academic freedom. Indeed, UFF-UF President Ortiz’s letter to UF

maintained that the denials violated Articles 10 and 26 and could be grieved. See

Ex. 4.

         A grievance must be filed “no later than forty-five (45) days following the act

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or omission giving rise to the grievance.” Art. 28.6(a). “The faculty member will

lose all rights to a review of the dispute unless the faculty member files a grievance

within the time specified.” Id. UF sent disapproval notices to Smith, McDonald,

and Austin on October 11, 13, and 15, respectively. See Am. Compl. ¶¶ 60-63. For

each of them, the 45-day period has run. Therefore, they have forfeited their claims.

See Dixon, 567 F. App’x at 828 (“Because … Dixon’s claims are ‘grievances,’ those

claims are void under [the CBA] because she did not follow [the] three-step

grievance procedure.”); Tracy, 980 F.3d at 805 (former professor’s failure to grieve

barred his breach of contract claim against FAU); City of Miami v. Fraternal Order

of Police Lodge No. 20, 378 So. 2d 20 (Fla. 3d DCA 1979) (union members’ court

action precluded because they failed to grieve). The claims of the original Plaintiffs

should be dismissed under Rule 12(b)(6). See Baker v. Farmers Elec. Co-op., Inc.,

34 F.3d 274, 284–85 (5th Cir. 1994) (dismissal for failure to file grievance under

CBA should take the form of dismissal with prejudice); City of Miami, 378 So. 2d

at 26 (ordering dismissal of the complaint).

      Article 23 of the CBA did not allow the original Plaintiffs to skip the grievance

process and head straight to federal court. Article 23, captioned “Other Faculty

Member Rights,” provides that “[a]ny alleged violation of [constitutional] rights

shall not be subject to the grievance and arbitration procedure of this Agreement, but

shall be subject to vindication only by a court of competent jurisdiction.” Art. 23.1.

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But Article 23 is a collection of miscellaneous faculty rights. It does not address, or

even mention, outside activity requests. In contrast, Article 26 establishes a specific,

detailed, and expedited process for outside activity requests and provides that the

denial of such requests may be grieved based on academic freedom grounds. Thus,

Articles 26, not Article 23, applies and controls here. “When two contract terms

conflict, the specific term controls over the general one.” United States v. Pielago,

135 F.3d 703, 710 (11th Cir. 1998); see id. (“Where the document contains both

general and specific provisions relating to the same subject, the specific provision

controls.”) (quotation marks omitted). Here, Article 26 is “the more specifically

applicable provision.” Id.

      In short, the claims of original Plaintiffs Austin, McDonald, and Smith are

barred by their failure to grieve and arbitrate their disputes with UF. 8




 8
   Nor did the Plaintiffs who joined the amended complaint, Goldhagen, Reid, and
Nunn, file a grievance. UF rules and regulations permit faculty members who are
not in the collective bargaining unit to commence proceedings and file grievances to
resolve a variety of disputes or complaints, including complaints involving
university practices bearing on academic freedom. See Rule 6C1-7.0441;
Regulations 7.041 & 7.042 (Exs. 13, 14 & 15). These three Plaintiffs did not avail
themselves of this process. See Fuller Decl. ¶ 4.
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V.    The Original Plaintiffs Have Waived Their First Amendment Claims.

      Plaintiffs contend that the First Amendment gives them a right to participate

in litigation against the State as amici or paid experts even if UF disapproves. As

union members bound by the CBA negotiated and agreed to by their union, Plaintiffs

Austin, McDonald, and Smith have waived any First Amendment right they may

have to act as an experts or amici when that outside activity is not approved through

the conflict of interest process set forth in Article 26 of the CBA.

      Constitutional rights, including First Amendment rights, may be waived,

including in a contract. Here, Austin, McDonald, and Smith are union members

bound by their union’s CBA. In the CBA, UFF-UF agreed to the Article 26 process

for outside activity. The original Plaintiffs are bound by the CBA. Assuming

arguendo that they have a First Amendment right to participate in litigation over

UF’s disapproval, they waived that right. Faculty members must grieve and, if

necessary, arbitrate UF’s disapproval, including on the ground that it violates

academic freedom under Article 10 of the CBA.

      In Barnard v. Lackawana County, 194 F. Supp. 3d 337 (M.D. Pa. 2016), aff’d,

696 F. App’x 59 (3d Cir. 2017), the plaintiff union member, Barnard, was suspended

without pay by her employer, the County, for engaging in a sympathy strike contrary

to the CBA. Barnard filed a Section 1983 suit alleging First Amendment retaliation.

But the District Court dismissed her claim, and the Third Circuit affirmed the


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dismissal. The courts held that Barnard’s First Amendment claim failed because, as

a union member, she was bound by the terms of the CBA negotiated by her union;

the CBA barred sympathy strikes; and thus Barnard waived any First Amendment

right she had to engage in such a strike. The Third Circuit explained that “a union

may expressly or implicitly waive an individual employee’s constitutional rights in

the context of the collective bargaining process.” Barnard, 696 F. App’x at 62

(citing Bolden v. Se. Pa. Transp. Auth., 953 F.2d 807, 826-29 (3d Cir. 1991) (en

banc) (union waived union members’ Fourth Amendment rights by consenting to

drug testing in the CBA)); see also Leonard v. Clark, 12 F.3d 885, 889-92 (9th Cir.

1994) (CBA article waived union members’ First Amendment right and barred their

Section 1983 claim).

      The Third Circuit’s analysis in Barnard applies here as well. In the Eleventh

Circuit, too, an individual is “free to waive her right to speech in her private

agreements.” Youngblood-West v. AFLAC, Inc., 796 F. App’x 985, 992 (11th Cir.

2019); see also United Fire & Cas. Co. v. Progressive Express Ins. Co., No. 6:19-

cv-1049-Orl-41EJK, 2021 WL 4458319, at *3 (M.D. Fla. Mar. 31, 2021) (“One can

waive any contractual, statutory or constitutional right.”) (quoting Bay v. United

Services Auto. Ass’n, 305 So. 3d 294, 299 (Fla. 4th DCA 2020)). Plaintiffs Austin,

McDonald, and Smith are bound the CBA that was negotiated and agreed to by the

union to which they belong. See Green v. United Parcel Serv., Inc., 847 F. App’x

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207, 208 (5th Cir. 2021); Summers v. Teichert & Son, Inc., 127 F.3d 1150, 1151 (9th

Cir. 1997). The UFF-UF agreed that its members would use the grievance process,

including arbitration, in the event that UF denied an outside activity request. “As in

any contractual negotiation, a union may agree to the inclusion of an arbitration

provision in a collective-bargaining agreement in return for other concessions from

the employer. Courts generally may not interfere in this bargained-for exchange.”

14 Penn Plaza LLC v. Pyett, 556 U.S. 247, 257 (2009).

      In sum, the original Plaintiffs have waived the First Amendment claims that

they assert against Defendants.

                                  CONCLUSION
      For the foregoing reasons, Defendants’ motion should be granted, and the case

should be dismissed for lack of jurisdiction and for failure to state claim.

                                           Respectfully submitted,
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         CERTIFICATION PURSUANT TO LOCAL RULE 7.1(F)

      Pursuant to Local Rule 7.1(F), I certify that foregoing is in compliance with

the Court’s word limit. According to the word processing program used to prepare

this memorandum, the document contains 7,937 words, excluding those portions

exempted under the Rule.


                                         /s/ H. Christopher Bartolomucci
                                         H. Christopher Bartolomucci
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                         CERTIFICATE OF SERVICE

      I hereby certify that a true and correct copy of the foregoing was filed in the

Court’s CM/ECF system this 1st day of December, 2021, and thereby served on all

counsel of record.



                                          /s/ H. Christopher Bartolomucci
                                          H. Christopher Bartolomucci




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